21-30633-hcm Doc#21 Filed 10/01/21 Entered 10/01/21 15:25:45 Main Document Pg 1 of 1




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

   IN RE:                                          §               CHAPTER 11
                                                   §
   WESTMOUNT GROUP, INC                            §
                                                   §               CASE NO. 21-30633-HCM
                           DEBTOR                  §

                        NOTICE OF WITHDRAWAL OF PROOF OF CLAIM

            NOW COMES the City of El Paso, a secured creditor herein, and notifies the Court and all
   other parties that it is withdrawing its secured claim in this case. The City of El Paso filed its
   secured claim on August 30, 2021, in the amount of $23,290.86, which claim is designated as claim
   number 1 on the claims register. The property subject to the tax claim is non-owned property of the
   estate. Therefore, the City of El Paso hereby withdraws its claim number 1.


                                      CERTIFICATE OF SERVICE

            I hereby certify that on the 1st day of October, 2021, a true and correct copy of the above and
   foregoing document was filed with the Court and served via the Court’s electronic noticing system
   upon all parties hereto.
                                                   Respectfully submitted,

                                                   LINEBARGER GOGGAN
                                                   BLAIR & SAMPSON, LLP
                                                   112 E. Pecan Street, Suite 2200
                                                   San Antonio, TX 78205
                                                   (210) 225-6763 - Telephone
                                                   (210) 225-6410 - Fax


                                                   By:     __/s/ Don Stecker              __
                                                           David G. Aelvoet (SBN 00786959)
                                                           Don Stecker (SBN 19095300)
                                                           Bradley S. Balderrama (SBN 24040464)
                                                           Attorney for the City of El Paso

                                                       1
